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8                            UNITED STATES DISTRICT COURT

9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11                               April 2021 Grand Jury

12   UNITED STATES OF AMERICA,                No. 8:22-cr-00029-JVS

13             Plaintiff,                     I N D I C T M E N T

14             v.                             [18 U.S.C. §§ 2252A(a)(5)(B),
                                              (b)(2): Possession of Child
15   SAMUEL FAHMIE,                           Pornography; 18 U.S.C. § 2253:
                                              Criminal Forfeiture]
16             Defendant.

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18        The Grand Jury charges:
19                                      COUNT ONE
20                     [18 U.S.C. §§ 2252A(a)(5)(B), (b)(2)]
21        On or about November 30, 2018, in Orange County, within the
22   Central District of California, defendant SAMUEL FAHMIE knowingly
23   possessed at least one video of child pornography, as defined in
24   Title 18, United States Code, Section 2256(8)(A), involving a
25   prepubescent minor and a minor who had not attained 12 years of age,
26   that had been mailed, and shipped and transported using any means and
27   facility of interstate and foreign commerce and in and affecting
28   interstate and foreign commerce by any means, including by computer,
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1    and that had been produced using materials that had been mailed, and

2    shipped and transported in and affecting interstate and foreign

3    commerce by any means, including by computer, knowing that the videos

4    were child pornography.

5         The child pornography that defendant FAHMIE possessed consisted

6    of the following videos titled:

7         (1)   “(Pthc) Pedo Boy Gay p101-Mikael – Incest Part 02.avi”; and

8         (2)   “Pthc Pedoland Frifam 9Yo French Girl 2010.avi.”

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1                                       COUNT TWO

2                      [18 U.S.C. §§ 2252A(a)(5)(B), (b)(2)]

3         On or about December 2, 2018, in Orange County, within the

4    Central District of California, defendant SAMUEL FAHMIE knowingly

5    possessed at least one video of child pornography, as defined in

6    Title 18, United States Code, Section 2256(8)(A), involving a

7    prepubescent minor and a minor who had not attained 12 years of age,

8    that had been mailed, and shipped and transported using any means and

9    facility of interstate and foreign commerce and in and affecting

10   interstate and foreign commerce by any means, including by computer,

11   and that had been produced using materials that had been mailed, and

12   shipped and transported in and affecting interstate and foreign

13   commerce by any means, including by computer, knowing that the video

14   was child pornography.

15        The child pornography that defendant FAHMIE distributed

16   consisted of a video titled “2016-06 – Omegle – Girl d1947 (New)

17   .avi.”

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1                                      COUNT THREE

2                      [18 U.S.C. §§ 2252A(a)(5)(B), (b)(2)]

3         On or about February 14, 2019, in Orange County, within the

4    Central District of California, defendant SAMUEL FAHMIE knowingly

5    possessed a Seagate hard drive, bearing serial number 3ND2CKQC, that

6    contained at least one video and image of child pornography, as

7    defined in Title 18, United States Code, Section 2256(8)(A), which

8    videos and images involved a prepubescent minor and a minor who had

9    not attained 12 years of age, that had been mailed, and shipped and

10   transported using any means and facility of interstate and foreign

11   commerce and in and affecting interstate and foreign commerce by any

12   means, including by computer, and that had been produced using

13   materials that had been mailed, and shipped and transported in and

14   affecting interstate and foreign commerce by any means, including by

15   computer, knowing that the videos and images were child pornography.

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1                                FORFEITURE ALLEGATION

2                                 [18 U.S.C. § 2253]

3         1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States of America

5    will seek forfeiture as part of any sentence, pursuant to Title 18,

6    United States Code, Section 2253, in the event of the defendant’s

7    conviction of the offenses set forth in any of Counts One through

8    Three of this Indictment.

9         2.    The defendant, if so convicted, shall forfeit to the United

10   States of America the following property:

11              (a)   All right, title, and interest in any visual depiction

12   involved in any such offense, or any book, magazine, periodical, film

13   videotape, or other matter which contains any such visual depiction,

14   which was produced, transported, mailed, shipped or received and

15   involved in any such offense;

16              (b)   All right, title, and interest in any property, real

17   or personal, constituting or traceable to gross profits or other

18   proceeds obtained from such offense;

19              (c)   All right, title, and interest in any property, real

20   or personal, used or intended to be used to commit or to promote the

21   commission of such offense or any property traceable to such

22   property; and

23              (d)   To the extent such property is not available for

24   forfeiture, a sum of money equal to the total value of the property

25   described in subparagraphs (a), (b), and (c).

26        3.   Pursuant to Title 21, United States Code, Section 853(p), as

27   incorporated by Title 18, United States Code, Section 2253(b), the

28   defendant, if so convicted, shall forfeit substitute property, up to

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